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 5

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     LEONARD WALTER
 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                  )
11   UNITED STATES OF AMERICA,                    )   Case No. 2:14-CR-0210-JAM
                                                  )
12                                                )   STIPULATION REGARDING
                            Plaintiff,            )   EXCLUDABLE TIME PERIODS
13                                                )   UNDER THE SPEEDY TRIAL ACT;
             vs.                                  )
14                                                )   FINDINGS AND ORDER
     JAMES CLINE, et al.,                         )
15                                                )   DATE: October 11, 2016
                            Defendants.           )   TIME: 9:15 a.m.
16                                                )   JUDGE: John A. Mendez
                                                  )
17

18           Plaintiff United States of America, by and through Assistant United States

19   Attorney Jason Hitt; defendant Leonard Walter, by and through counsel Scott L.
20
     Tedmon; and defendant James Cline, by and through counsel Danny D. Brace, Jr.,
21
     hereby agree and stipulate as follows:
22
         1. By previous order, this matter was set for status conference on September 27,
23

24           2016 at 9:15 a.m. On August 29, 2016, the Court issued a minute order

25           resetting the status conference to October 11, 2016 at 9:15 a.m.
26
         2. By this stipulation, the parties now move to continue the status conference to
27
             Tuesday, November 15, 2016 at 9:15 a.m., and to exclude time between
28
             September 27, 2016 and November 15, 2016 under Local Code T4.


     Stipulation; [Proposed] Findings and Order                      Case No. 2:14-CR-0210-JAM
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 1       3. The parties agree and stipulate, and request the Court find the following:
 2
             a) Defense counsel needs additional time to analyze portions of the
 3
                  government-produced discovery, conduct research and investigation on
 4
                  certain issues, consult with their respective client regarding the status of
 5

 6                the case, and discuss the possibility of a plea resolution with the

 7                government.
 8
             b) Defense counsel believes the failure to grant the above-requested
 9
                  continuance would deny each defendant reasonable time necessary for
10
                  effective preparation, taking into account the exercise of due diligence.
11

12                Counsel for the government has no objection to this request for additional

13                time to prepare the case.
14
             c) Based on the foregoing, the ends of justice served by continuing the case
15
                  as requested outweigh the best interest of the public and the defendants
16
                  in a speedy trial within the original date prescribed by the Speedy Trial
17

18                Act.

19           d) For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
20
                  3161, et seq., within which trial must commence, the time period of
21
                  September 27, 2016 to November 15, 2016, inclusive, is deemed
22
                  excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), (B)(iv) [Local Code T4]
23

24                because it results from a continuance granted by the Court at the

25                defendants request on the basis of the Court’s finding that the ends of
26
                  justice served by taking such action outweigh the best interest of the
27
                  public and defendants in a speedy trial.
28




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 1       4. Nothing in this stipulation and order shall preclude a finding that other
 2
             provisions of the Speedy Trial Act dictate that additional time periods are
 3
             excludable from the period within which a trial must commence.
 4
             IT IS SO STIPULATED.
 5

 6   DATED: September 16, 2016                          PHILLIP A. TALBERT
                                                        Acting United States Attorney
 7
                                                        /s/ Jason Hitt
 8
                                                        JASON HITT
 9                                                      Assistant U.S. Attorney

10   DATED: September 16, 2016                          LAW OFFICES OF SCOTT L. TEDMON
11
                                                        /s/ Scott L. Tedmon
12                                                      SCOTT L. TEDMON
                                                        Attorney for Defendant Leonard Walter
13
     DATED: September 16, 2016                          LAW OFFICES OF DANNY D. BRACE, JR.
14

15                                                      /s/ Danny D. Brace, Jr.
                                                        DANNY D. BRACE, Jr.
16                                                      Attorney for Defendant James Cline
17

18
                                        FINDINGS AND ORDER
19

20
             IT IS SO FOUND AND ORDERED.
21
     DATED: September 16, 2016
22
                                                  /s/ John A. Mendez___________
23
                                                  JOHN A. MENDEZ
24                                                United States District Court Judge

25

26

27

28




     Stipulation; [Proposed] Findings and Order                             Case No. 2:14-CR-0210-JAM
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